 8:05-cr-00187-JFB-FG3               Doc # 53   Filed: 08/01/05     Page 1 of 1 - Page ID # 152



                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )             Case No. 8:05CR187
                                                )
                        Plaintiff,              )
                                                )
         v.                                     )                      ORDER
                                                )
TONIA PLUNK,                                    )
                                                )
                        Defendant.              )


         IT IS ORDERED that a change of plea for the defendant is scheduled before the
undersigned in Courtroom No. 3, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th
Plaza, Omaha, Nebraska, on August 11, 2005, at 9:00 a.m. Since this is a criminal case, the
defendant shall be present, unless excused by the court. If an interpreter is required, one must be
requested by the plaintiff in writing five (5) days in advance of the scheduled hearing.
         The ends of justice will be served by granting the defendant's request for a short continuance
in order to complete plea agreement negotiations, and outweigh the interests of the public and the
defendant in a speedy trial. The additional time arising from the date of trial to the date of the
scheduled change of plea hearing, namely, August 8, 2005, through August 11, 2005, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial Act,
for the reason that defendant's counsel requires additional time to adequately prepare the case,
taking into consideration due diligence of counsel and the novelty and complexity of this case, and
the failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A)
& (B).
         DATED this 1st day of August, 2005.
                                                BY THE COURT:




                                                s/ Joseph F. Bataillon
                                                JOSEPH F. BATAILLON
                                                United States District Judge
